Case 2:05-cr-20142-.]DB Document 42 Filed 07/01/05 Page 1 of 2 PagelD 34

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UNiTED sTATEs ot= AMERch, U'%U¢SF' WBNBCTMB
Plaimirt, 7

VS.
CR. NO. 05-20142-B

CALVIN |VlC NARY,

Defendant.

 

ORDE|'-'t ON CONT|NUANCE AND SPECIFY|NG PER|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on June 23, 2005. At that time, counsel for the
defendant requested a continuance of the July 5, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to September 6, 2005 with a

re ort date of Monda Au ust 29 2005 at 9:30 a.m., in Courtroom 1 11th Floor of the

 

 

Federal Bui|ding, Memphis, TN.
The period from Ju|y 15, 2005 through September 16, 2005 is excludable under
18 U.S.C. § 3161 (h)(8)(B)(iv) because the ends of justice served in allowing for additional

time to prepare outweigh the need for a speedy trial.

  

 

 

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Thls doct merit entered on the docket sheet in compliance
with Fr.ila 55 and/or 32ib) Fech on "7___"_£0_£§_'

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Notice of Distribution

This notice confirms a copy of the document docketed as number 42 in
case 2:05-CR-20142 Was distributed by faX, mail, or direct printing on
July 6, 2005 to the parties listed.

 

 

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Honorable J. Breen
US DISTRICT COURT

